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Roseberry Video 1

Call the police and tell them to come here and clear the Capitol. Tell them to clear it.

These fucking people think I’m joking don’t they. Hey ma’am, I’ve called 911 and told them to clear this
fucking place out. They need to clear it out cause I’ve got a bomb in here.

I don’t want nobody hurt. Yes sir, I don’t want nobody hurt.

I’m not coming here to hurt nobody. You can have all you want. And you can pick it up because I swear
to god I will not hurt this place. I’m here for my own.

No sir. Money’s not my point. Ma’am you spread it out and give it to people who need it. And sir I’m not
lying. Tell them there some more. I brought money for the people.

Please clear the area. Clear the area. You can have it man. Pick it up and take it with you. Get what all
you want man. You get all you want. That’s yours.

Cause I tried to call Joe Biden. Joe Biden won’t talk to me. And they don’t understand if this fucking
window breaks this truck goes up. They don’t understand it, they think it’s a fucking joke.

Ain’t no joke people. I’m here.

God bless you brother. Hey brother leave some more for all of us. Thank you. Thank you. Help the
people man, help the people.

Please clear the area. As soon as you get it clear the area.

Joe Biden you don’t fucking believe nothing man but this number’s on you. I called your office, I called
you 911 and they think it’s a fucking joke but I’m telling you bud, the South’s here. These five of us
spread across your little DC part here. I’ve done asked the people to clear the area. And the mother
fuckers won’t. They’re still here. It’s real. I’m not pulling the trigger, you are.

Take it all man. Trust me, ya’ll need to clear the area. Clear the area. Boss man, you need to clear this
area. Two block radius.

Joe Biden, you’re pulling this trigger, not me. When these windows break, it’s over. Don’t break these
windows with no bullet cause it’s not going to be my fault. It’s not going to be my fault when this place
goes up. You’re the man. You’re the man. You’re the one that’s going to pull the trigger. I’m not, Joe
Biden. I’m not pulling the trigger on nothing.

Hey babe, ya’ll need to clear this area. Clear it. It’s real. I’m not going home. Joe Biden it’s your time to
make the move. I told you, you was going to have this question asked to you one day.

Do you want to pull that trigger and kill this man from the South? Do you want to pull that trigger and
clear out this for two and a half, two blocks? It’s real Joe Biden. Don’t break these windows with a bullet.
Cause then it’s gone and I don’t want to do it. I want everybody out of this area in a two block radius. A
two block radius.

Hey man, you look like you’ve got enough fucking money. Why don’t you go give it to somebody who’s
got some, ain’t got none? Huh? Look ya’ll need to clear this area for a two block distance.
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Mother fuckers don’t care do they. They don’t care. They don’t understand I’m not lying. I’m not lying,
Joe Biden, you’re pulling the trigger.

These people got enough trust in me to know that I ain’t going to pull the trigger. They standing all
around my truck. I told them not to. I done called 911 and I’ll tell ya if this was a real emergency, people
would be shit out of luck.

I think they think I’m kidding. But I’m not. The revolutions here people. The revolutions here. Whatever
you do Joe Biden, don’t pop these windows with no bullet. Cause if you do it’s a chain reaction all the
way across the land.

It’s heartfelt for the people, all the veterans out there who sit out there and nobody helps them. This is
for all the people out there in need of medication. And they want to give it to the junkies for free.

Hey man would you have them clear this block for two blocks. People don’t know. I mean I’m trying. I
don’t want nobody around. Come here, come on. We finally got a little notice. We finally got some
notice. Treat me with respect.

Sir, the first thing I need you to do is clear this for a two block radius. If my windows break it goes up.
Joe Biden you can stop this. You can stop this Joe.

Sir, I’m not going to hurt you. If you would please, walk to my window. Sir, I promise I will not hurt you.
Sir, this thing here, all I’m doing, I’m not going to let this bomb go off. But, if these windows break, you
see that little speaker right there? It sets off on decimals.

Clear the block. Clear the block.

Joe Biden, I’m not hurting nobody. But I think these flags need to go to half-staff today, brother.

I’m telling you if my windows pop this bombs gonna go, it’s made for decimals. Your military experts
that you let their legs get blown off are the ones that built this. And if you don’t think its real gun
powder in there boss man, its gun powder in there and this is some of the strongest shit you can get.
And it’s full.

I’ve got two and a half pounds of tannerite. Go ahead and get them on the building. But, I’m telling you
Biden, if these windows pop, this bomb goes. And there’s five of them here.
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Roseberry Video 2

Guys, I found me a place to park.

Alright guys, looks to me like I’m getting ready to make a phone call.
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Roseberry Video 3

Guys, I think I might have found a place I’d like to park. Take a breather. Been driving hard.

I love you darling. I’m going to go park and rest. Long ride up here. Long ride.

Constitution Lane. Come on people I need to get on over. Let me over.

Pretty city. They don’t want me to go. Come on people let a man over. Thank you. Share the road.

Beautiful, beautiful place. You know guys, I think I just found me a good place to park.

Whoa, whoa, whoa. You ain’t going to get me buddy. I’m backing up. I ain’t doing no tickets. No tickets.
No tickets.

Hey babe you need to go on back to work. Please.

Alrighty then.
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Alright people

I posted a video just now and….inaudible…

You know I went to the doctor yesterday to get some cell therapy shots they’ve been bragging about
giving to the athletes all these years

Just so id be able to walk

I go in, get ready, doctor says oh no shots today

Insurance don’t cover it anymore

Really

Wife goes to the doctor

Shes got cancer

And they told her they wouldn’t cover it no more because it was cosmetic goes on her face

Cosmetic hell they had to take half her fucking nose off

Still going today, paying for it

Wheres the insurance at, Biden, Obama

Wheres the insurance at

They keep on letting all these illegal Mexicans in here

All these illegal immigrants from Afghanistan

Inaudible… free health care….inaudible

Youre fucking giving it to them

Souths fed up

Joe Biden the south is fed up

Aint cause we don’t love everybody

My heart goes out to everybody even animals

I hate to see animals

When I run over a a rabbit I have to go back, pick it up, throw it out the road just so it don’t get run over
again

I mean really, come on now

I deer hunt, and I’ve shot more…inaudible…then I have deer killed

I’ve always been taught
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You don’t kill nothing you don’t eat

I guess Im on here alone

But it wont be long I wont be all alone

Ive just entered the state of Washington

Well escuse me, I Im more I think about it it aint no state

Getting ready to

All yall people out there said to us uhh its time to take a stand time to take a stand well mother fuckers
Im up here today

Im setting the foundation

If all yall mother fuckers wanna sit at home

And explain to your kids why you didn’t go up there

You can do that, Im good with it

But for me,

That aint what I am

Im an American patriot

That’s what I am

This platform is gunna be built

And when its built youre gunna know it

I told my wife

Told her Id be home on Sunday

Aint never lied to her

Yall mother fuckers better not make it the first time

Cause if you do

You’re the ones that’s gotta explain it

This motherfucker right here aint explaining nothing to nobody

Nothing

Cause Im a patriot

My family fought in the war

My uncles is special services he lost his legs
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What did he do, he went back and served 10 more years building uh ATFs

This worlds fucked up

Something my uncle did taught me though he says you know, if you ever in trouble, and you think youre
gunna get shot, he said roll your windows up in your truck, because they aint nothing gunna make the
loudest noise you ever heard then the decimals that’s coming off of it

He said he’d built them ATFs bombs walk across he said a leaf will crack and theyd pop

Simple leaf

I don’t know how hed done it

He was a goodman though

He served his country

He served his god

Still down people

Might as well start rolling on in

At least she aint coming I don’t care if he come or not

Im just gunna give options

Im not gunna hurt nobody

God forbid I don’t wanna die

Hell I love to fish

Im gunna fish

But I promised my wife Id be home Sunday

Whichever home it is

Ive cleared my conscious with God

That’s love for America baby

I have no fear

None

The crackling in my voice and the passion you hear for the land I love

Its coming

Somebody needs to tell Joe Biden

We here
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The fucking revolution starts today Joe Biden

And before you go cracking any pops on me

You better get your military exoerts out

Nasty motherfuckers want a 7 pound keg of gunpowder to do what 2 and a half pound of tennerite on
that motherfucker

You know what else

Im not gunna lie im gunna give joe biden the option too

Joe biden is gunna get to pull the trigger on this one

Cause I have no control over it

I have no control

I was picked by the American fucking people

To come up here and take a stand they told me what I what they put in my truck is to go with

And that motorcycle is about ready to fuck everything up with the decimals hes poutting off

I love this land I love god I love you joe biden I love you Nancy Pelosi

Yall need to step down

Yall need to step down quickly cause Im one of 5 that’s rolled into this state well this little DC

One of 5

Joe biden we all came a different way

Theres little road blocks on setting up coming on down here them road blocks ….fucking bnobody

You wasted your time

Southern boys are here

You can take me out but when you do you know whats gunna happen Joe biden

Theres gun nabe a fucking chain reatction and that chain reaction is gunna be on your hands when you
crack a bullet through my windows

Cause I have no control of whats in my passenger seat

none whatsoever

The American people sent me with it

The fucking American people sent me here

Im here to take a stand
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Clear out your little city

Clear it out

And imma warn you

Youre in a loose loose situation

Cause you crack a bullet through my fucking window this whole thing goes boom

And yous was wondering where your change shortage is well mother fuckers I got it

I got all your nickels, dimes, quarters

I got 2000 pounds sitting in here

Crack my windows mother fuckers

Crack my windows

And there’ll be a devastation you’ve never seen cause im not gunna do it Joe biden

Im not hurting no body

But you pull up your sniper up there and inaudible.
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Video 5

I’m back

Decimals people decimals

It’s not decimals behind dollars either

Its decimals through sound

Its 5 of us here Biden

We come all different ways

Goodbye

Its time people

Time to take a stand

I’m just warning you Biden don’t pull the trigger on this truck cause I’m not responsible for it I’m not
gunna do anything

Go ahead

Inaudible

I’m sorry, didn’t mean to get in the cross walk

They really stood me up

I don’t understand why the light aint changing

See I backed up for you brother

But

Oh well that works better roll this window up

Inaudible

Keep watching brother

I aint lied to you once and I aint lying to you again I’ll be home Sunday

Coming home Sunday

I think its time to say goodbye to that thing

Alright fellers well holler at you later
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Video 6

Inaudible….guys

Light up this morning

Gunna have me a good day

Tomorrow gunna go out with my wife

Going to kates cove

Take the kids

Opp, bout to wreck, hang on

That’s some good breaks there feller, that dude at’ll be a nascar driver

He can do the handy real good

All over the news they just showed, all them Iraqian people, Afghanistan people

Whatever they are, they all over there behind bard wire getting killed getting shot by the Taliban and
when they do make it over and we get them outta there they box them in with bard wire

They fucking they animals

Its not right man

The worlds not right

People take advantage of too much too many times

I had to get in the truck last night

I just couldn’t take it no more

Everybody sitting around waiting on a hero they aint no hearos mother fuckers there aint no heros

All there are are American fucking people

American peoples is alls they are

It don’t matter if they black white gay lesbian masking

We all apart of the human race

Were born free

We stand free

First of all id like to thank Georgia, that piece of shit hole they running everybody off of there

We got a tenant to rent my moms house cause she died of cancer

Inaudible
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We got some traffic

I want to thank South Carolina, for allowing me to make it through their part of the country

Then I want to thank North Carolina for letting me letting me through theirs

Now Imma tell all y’all mother fuckers out there saying there’s a revolution there’s a revolution well I’m
building the fucking foundation

If you don’t come, you can explain it to the ol’ kids
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Video 7

Well, fucking people think it’s a joke, but they cleared the block

And I called 911 three times. They need to get Joe Biden over here cause this baby

Its awful, I’m not hurting no body joe I’m not I’m not pulling the trigger on this thing

I can’t

There’s no way for me to blow this up

Only you can by shooting a bullet through my window

You’re the only one that can do it Joe

I love this land

We got a few options here joe

You shoot me, there’s two and half blocks going with me

And then you’re talking about a revolution

The revolutions on

It’s here, it’s today

Told my wife I’d be home by Sunday

I’m looking for all my other patriots to come out and help me, cause I got it standing, I got the
foundation built people

I’m here, they know I’m here

And I don’t tell them to clear the blocks

We cut off healthcare I can’t even get the damn shots for my back no more but yeah they’ll give ‘em to
‘em superstar athletes, wont they

They’ll give ‘em to them

…Inaudible….

I’m up here in uh Washington DC, there’s a capitol or something

There’s another capitol and I done got the police coming and I’m trying to get Joe Biden on the phone

I’m parked up here on the sidewalk right beside all this pretty stuff and they don’t realize is that I can’t
set this thing off

When that bullet hits this windows, that’s when it goes off, and it aint my fault

They got the roads blocked

They know I’m here
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I see the snipers over on the building

They better listen before they shoot

They better listen before they shoot

Biden there’s a change shortage for a reason

I got it all

I got loads of it

Loads of it Biden

And it don’t take but a half a roll of nickel to get to a 50 caliber bullet

But I’m telling you them snipers come in and start shooting this wind out

This bombs going off because it was built by y’alls people

By the people y’all had in the military

Y’all were the ones that trained the man to build it

He blowed his legs off buildin it so this things right and when he tells me that when the decibels hit start
start to peak that it’ll to go, its gunna go

Don’t do it Biden don’t pull the trigger

Cause if you do they 5 more they 4 more going off

4 more, and I aint got hands on none of them

They sitting in cars all over this fucking place around here cause you thought the south wasn’t coming

Well Joe Biden the Souths coming

The roads are blocked, I’m waiting on your phone call

It’s your call, you’ve got an option

You can shoot me and kill me right here and blow up 2 and a half city blocks, and let all the patrons out
in the country know

Cause I aint here to blow nobody up

I aint here to hurt nobody if I was, I wouldn’t have told no one to leave

I would have gunned this mother fucker and road it right up in your front door

But I’m here for a reason Joe Biden, I’m here for a reason

I’m here for the American people

And if you want to take me out, take me out
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But when the patriots come, your ass is in trouble

Five of us already here, and I’m the little man

I’m the speaker, so if you

If you blow my truck up then hey, it’s on you Joe

I’m ready to die for a cause, and brother if save, if you could do anything to save one life, one life, you
said you’d do it

Well you’ve got a chance

I want to go home Sunday, I want to go home and see my wife

We’re living in a free country Joe

The choice is yours

If you want to shoot me, and take the chance of blowing up 2 and a half city blocks

Cause that toolbox is full

Ammonium nitrate, its full

I don’t want to die Joe, I want to go home

Just like the people in Afghanistan want to go home

Them people’s lives is on yours hands

All them dead people on in your hands

Afghanistan I’m standing for you strong too

The mother fuckers should have bombed they asses and made sure they was all that before they left…

….before we left

So if they blow me up Afghanistan, I hope somebody takes revenge on that

Cause I’m a patriot

I love this land

I’ll die for this land

Cause my grandbabies gunna have the rights I had

And any of you other fuckers out there any other patriots y’all mother fuckers sitting at home sitting on
the couch, out there fishing playing the golf, I don’t want to see no more fucking videos patriots its time

Cause motherfucker, the revolutions on, it’s on

And I don’t stand here alone Joe
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If you take me out you’ll never know where them other 4 are until they go off

It’s gunna be a chain reaction

Don’t break my windows

Send somebody up here to talk to me

Cause I didn’t carry a gun, I didn’t even carry a gun, I didn’t carry nothing

All I done was carry my change and brought what the American people give me

Cause they said Ray was tired, and I told them I was tired too

Joe, I love you man

I love Nancy

I love all yall

I love the man that’s getting ready to put a bullet in my head

Only thing I say Joe Biden is you better hope he’s a democrat and not a republican

Cause this revolutions not gunna stop bud its on, its on,

You better get your nado out…inaudible….bring ‘em on down here

you’re gunna need ‘em, you’re gunna need ‘em Joe this revolution is on, brother

there aint no more talk about it

I don’t want to die, I want to go home

I want to watch my grandbaby live

But she’s gunna live in peace even if I don’t get to see it

This bloods on your hands Joe Biden

We can make a deal, we can make a deal

Cause I can’t make this bomb go off

I have no way whatsoever to make this bomb go off

But y’all mother fuckers out there is getting ready to set the decibels up

Stack them up all around me, that’s fine Joe

But I’m telling you brother, when they pull that trigger this trucks gone

You’re military expertise built this

You’re military expertise, Joe

All by decibels
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Im glad you got them side rings out from around here it was kinda making me nervous

Cause I don’t want to die, but I’m not scared to die

Send somebody to talk to me Joe

But you don’t want to shoot these windows out I’m telling you

You’re boys over on top of that roof you don’t want to shoot these windows out

When you shoot these windows out the revolution is on even harder, there gunna be 4 more going off
across this town

It aint my fault

I want all the buildings around me evacuated that way if you do decide to kill somebody Joe, its only me

It aint nobody else

We can talk about it

I don’t want to die

I didn’t want to come

But I had to

American people sent me

I love this world

All I want to do is set this bomb down

And go home

They told me how to deactivate it Joe

That little blue light right there works off decibels, you come up with your little billy jacks busting my
windows and its gunna go boom brother and I don’t want your people I don’t want your people hurt

If youre gunna blow me up Joe, if youre gunna shoot me

Please make sure there aint nobody else around please cause I don’t want to take no lives

I don’t

Im a good man

But youre taking it too far

Its time to take a stand Joe

And I love you Man

I love Nancy I love everybody
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I said hell if I run over a cat I gotta I got turn around and go back and get it out of the road just so I don’t
think the kid coming outside and see it laying there

I’m a good American patriot Joe

I’m telling you

Joe you just don’t know

Imma tell you what though

If you crack these windows, it aint on me

The bloods on your hands cause I cant set this bomb off Joe only you can

Only your word

Your word fire will set this bomb

When this bomb goes off there’s gunna be 4 more right behind it and then the patriots are gunna come
cause you don’t know where them 4 sittin

One of them might be sitting right at your back door

Better better talk to me joe

You need to send somebody out here to talk to me cause I am not gunna hurt nobody

I promised my god I will not hurt nobody

I promised my wife I will not hurt nobody

I would not kill myself

Imma keep that promise Joe

The American peoples watching

And they coming

4 mores already here

If I was you man, I’d go ahead and lower all these flags half-staffed cause they don’t deserve to be
standing this high

They don’t even deserve to be standing with the democrats up there doing what theyre doing

Yall know what youre doing democrats youre killing America, youre killing America youre making people
want to leave America

This supposed to be a place people want to come, let them come

Black white lesbiuan gay lgbt it don’t matter we’re americans

This is our land Joe
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You cant sit up here and tell us what to do

This is your option now

You’ve got the option Joe

Shoot me crack these windows and blow up 2 city blocks

Or send somebody down here to talk to me cause I aint gunna hurt ‘em

Ill clear them out a seat over here beside all this money

Beside all them, all that

Look behind me

Joe I’m surrounded by nickel, copper, and some of that zinc ass shit y’all call pennies

You’re robbing people on that too

Joe Biden you’re pennies root and every time you’re peenies root y’all making money

Well I got your coins

I got ‘em

All over the place

Nickels hard

I love America Joe

And I know you snipers are good they can take me out anyway they want to I was gunna throw me up
some blinds around but hell we hunt in the south too man we know what heat heat radars are we know
where fucking kill damn hog at night we know how to tell heat come on joe

I just want to talk somebody Joe, send somebody here to talk to me

I can’t set this bomb off

Joe you’re the only one

Youre the only one in American that can set this bomb off

Tell them to pull the trigger Joe

Tell them

There’s 4 more sitting out here

Tell ‘em joe

Tell ‘em to pull the trigger, I’m ready

Or send somebody out here to talk to me
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Cause I aint going no where Joe




I want to go home by Sunday

I hope all American people, don’t make a liar out of me

Told my wife, I lied to her twice

Told her I was going fishing today

Took off before she got up, and I don’t want to lie to her again, I want to be home Sunday

…Inaudible….

But Joe its up to you, this is your option

Im not moving from this spot, Im not putting no body in harm

I pulled up here and throwed out about 3000 dollars

And you wouldn’t believe what a man done

He racked up a big ol hand full and he handed it to this other man that needed it

Youre money aint no good Joe

You got dirty money

Its up to you Joe Biden

I’m ready

American peoples ready

Shoot me

Get the revolution started Joe

I told you there’s 4 more sittin’ all around this town

And I have I have no idea really where they at

We all came in different ways but we came from the same place

You can shoot me Joe

The blood will be on your hands

Its not gunna be on mine

This thing wont go off unless these windows break

It works off decibels
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Y’all see that little round thing I know you’re watching me

This little round thing right here is speakers

these little wires out the side right here the run down to these wires

this is Tannerite

I’m sure they know what it is

Just come down here and talk to me Joe

Americas tired of it

And I’m not setting this bomb off Joe you are

You’re gunna be the one setting it off not me

And I’m gunna make that clear to the American people I can not set this bomb off

I cannot set this bomb off

The only thing that can set this bomb off is enough decibels

The shatter of this glass and this truck is enough decibels to start the revolution

Joe you can send them in man

But im telling you you the man thats gunna set the bomb off I aint

I cant do it

I cant kill nobody I cant kill myself hurt myself

I’m just here to give you options unlike what you give us

Well right now this areas only okay for people who I guess wanna watch them die

Bomb squads here

Joe don’t shoot

If you shoot, you’re the one setting this bomb off not me cause I have no control I have none

No control over it

You’re military expertise, the ones that was trained, the ones that trained the poeple in the military now

He made this he didn’t have but two legs but he said he knows it works

Cause hes used them many of times

Don’t shoot me Joe cause if you shoot me you’re setting this bomb off and youre setting the other 4 off
and the other 4 moight be sitting in themiddle of a million people anditd be on you

It wont be onus it wont be on us
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Its your game joe

Now im calling your bluff

Shoot me

2 city blocks is gone

Let youre popel do the calculation

Shoot me joe

I cant set the bomb off

Hoe biden

The man you tell to pull the trigger the man that pulls the trigger hes the man that’s gunna set it off

Cause I don’t want to die joe

I love everybody

Its got options

I don’t

But you do joe

You got options

Ill step out of this truck and walk away

But its your option

And you just gotta remember joe

Theres 4 more here

Theres 4 more in the capitol of DC

Sitting there just like me

But I had to be the one chosen to do the dirty work and talk

I always get the shit end of the deal joe

Love all y’all people out here I know what you’re doing you’re protecting the capitol

But you don’t have to worry about it, im not gunna blow it up

Joe Biden is

Nancy Pelosi

52 democrats

And joes screaming right now pull the trigger pull the trigger pull the trigger
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But joe, you don’t want to do that brother

Do you think if ive got the balls to come up here you think little balls hurt hih

they some home stringers outhere

I just got choose for the job

Unlike you

This aint about politics

This aint got nothing to do with politics

I don’t care if Donald trump ever become president again dont matter to me

I think yall democrats need to step down

Yall need to understand people don’t want you there

…Inaudible….

Wouldn’t have to worry about a thing

I didnt have to tell you Joe

I had it all I had it all

Bes thing I have was a wife, a kid, a grand baby, a a daughter in law, another daughter, a son-in law

Yeah joe

I got two kids, son in law daughter in law, grandbaby

I aint naming no namres cause they doint even know im here

But its on you joe

I cnat set the bomb off only you can

I cant set it off

I cant make a loud enough noise

Talk about this revolution people

Got the foundation started

We just don’t wanna hurt nobody

Were not like the democrats

Send somebody over to talk to me joe
Its my land

Its your land
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We’re the people, taking a stand Joe

Got all them people dying in Afghanistan

and all them kids being raped

Just let the Taliban run right through

I guess some people done some things sometimes

Well look here you little bitch some peoples doing somethings now

And it’s the fucking south

Thank you Georgia, thank you North Carolina, South Carolina for allowing me to make it through

I’m not hurting nobody Joe

I want to go home

But they chose me to do this shit

I was the one choose and you know what I don’t mind a bit

If America needs a voice I’ll give it to ‘em

But I’m telling you Joe, you pop these windows out its over

and its gunna be a chain reaction

You wouldn’t believe nobody ever come up here in the first place

why should you believe there’s 4 more sitting around town

This is just a start

I don’t want I don’t want to sit here when it blows up

I don’t want to sit here and die in this truck

Ill die in federal prison

You step down out off office ill step down out of this truck

You go home ill go to federal prison

Nobody desderves to die joe

Don’t do it man

You pull that trigger this truck goes up and theres nothing I can do about it

It means you kill me and setting this bomb off

Peoples tired Joe

Just send somebody here to talk to me
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Ill tell you what they want

The first thing they want is airstrikes in Afghanistan kick that Taliban’s ass and keep them from killing
people

Joe
